Case 1:23-cv-23933-FAM Document 6 Entered on FLSD Docket 10/17/2023 Page 1 of 5


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                        :
   Sucesión Simon Diaz Marquez,                         :
                                                        :
             Plaintiff,                                 :
                           v.                           :    Civil Action No. 1:23-cv-23933
                                                        :
   Miami Fine Foods, LLC and Avi Assor,                 :
                                                        :
             Defendants.                                :
                                                        :


     MOTION TO APPEAR PRO HAC VICE, CONSENT TO DESIGNATION, AND
  REQUEST TO ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

        In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer

 Review, and Discipline of Attorneys of the United States District Court for the Southern District

 of Florida, the undersigned respectfully moves for the admission pro hac vice of Michael Barer,

 of the law firm of Haug Partners LLP, 745 Fifth Avenue, 10th Floor, New York, New York 10151,

 tel: (212) 588-0800, for purposes of appearance as co-counsel on behalf of Plaintiff, Sucesión

 Simon Diaz Marquez, (the “Plaintiff”), in the above-styled case only, and pursuant to Rule 2B of

 the CM/ECF Administrative Procedures, to permit Michael Barer to receive electronic filings in

 this case, and in support thereof states as follows:

        1.       Michael Barer is not admitted to practice in the Southern District of Florida and is

 a member in good standing of the New York Bar, United States District Court for the Southern

 District of New York, United States District Court for the Eastern District of New York, and the

 United States District Court for the Western District of New York.

        2.       Movant, Matthew Ryan, of the law firm of Haug Partners LLP, 777 South Flagler

 Drive, Suite 1000, East Tower, West Palm Beach, Florida 33401, tel: (561) 489-4600, is a member

 in good standing of The Florida Bar and the United States District Court for the Southern District



                                                   1
Case 1:23-cv-23933-FAM Document 6 Entered on FLSD Docket 10/17/2023 Page 2 of 5


 of Florida and is authorized to file through the Court's electronic filing system. Movant consents

 to be designated as a member of the Bar of this Court with whom the Court and opposing counsel

 may readily communicate regarding the conduct of the case, upon whom filings shall be served,

 who shall be required to electronically file and serve all documents and things that may be filed

 and served electronically, and who shall be responsible for filing and serving documents in

 compliance with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF

 Administrative Procedures.

           3.    In accordance with the local rules of this Court, Michael Barer has made payment

 of this Court's $200.00 admission fee. A certification in accordance with Rule 4(b) is attached

 hereto.

           4.    Michael Barer, by and through designated counsel and pursuant to Section 2B

 CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic

 Filings to Michael Barer, at email address: mbarer@haugpartners.com.

           WHEREFORE, Matthew Ryan moves this Court to enter an Order for Michael Barer to

 appear before this Court on behalf of Plaintiff, for all purposes relating to the proceedings in the

 above-styled matter and directing the Clerk to provide notice of electronic filings to Michael Barer.

 Dated: West Palm Beach, FL
        October 17, 2023
                                               Respectfully Submitted,

                                       By:     /s/Matthew Ryan/

                                               Matthew Ryan
                                               Fla. Bar No. 368709
                                               HAUG PARTNERS LLP
                                               777 South Flagler Drive
                                               Suite 1000, East Tower
                                               West Palm Beach, FL 33401
                                               Tel: (561) 489-4600
                                               mryan@haugpartners.com




                                                  2
Case 1:23-cv-23933-FAM Document 6 Entered on FLSD Docket 10/17/2023 Page 3 of 5


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                        :
   Sucesión Simon Diaz Marquez,                         :
                                                        :
            Plaintiff,                                  :
                           v.                           :     Civil Action No. 1:23-cv-23933
                                                        :
   Miami Fine Foods, LLC and Avi Assor,                 :
                                                        :
            Defendants.                                 :
                                                        :


                           CERTIFICATION OF MICHAEL BARER

        Michael Barer, pursuant to Rule 4(b)(1) of the Rules Governing the Admission, Practice,

 Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the Local Rules

 of the United States District Court for the Southern District of Florida; (2) I am a member in good

 standing of the New York Bar, United States District Court for the Southern District of New York,

 United States District Court for the Eastern District of New York, and the United States District

 Court for the Western District of New York; and (3) I have not filed more than three pro hac vice

 motions in different cases in this District within the last 365 days.

 Dated: West Palm Beach, FL
        October 17, 2023
                                                Respectfully Submitted,

                                         By:    /s/Michael Barer/

                                                Michael Barer
                                                HAUG PARTNERS LLP
                                                745 Fifth Avenue, 10th Floor
                                                New York, NY 10151
                                                Tel: (212) 588-0800
                                                mbarer@haugpartners.com




                                                   3
Case 1:23-cv-23933-FAM Document 6 Entered on FLSD Docket 10/17/2023 Page 4 of 5


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                       :
   Sucesión Simon Diaz Marquez,                        :
                                                       :
             Plaintiff,                                :
                           v.                          :     Civil Action No. 1:23-cv-23933
                                                       :
   Miami Fine Foods, LLC and Avi Assor,                :
                                                       :
             Defendants.                               :
                                                       :


                     ORDER GRANTING MOTION TO APPEAR
            PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
           ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

          THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

 Michael Barer, Consent to Designation, and Request to Electronically Receive Notices of

 Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer

 Review, and Discipline of Attorneys in the United States District Court for the Southern District

 of Florida and Section 2B of the CM/ECF Administrative Procedures. This Court having

 considered the Motion and all other relevant factors, it is hereby

          ORDERED AND ADJUDGED that:

          The Motion is GRANTED. Michael Barer may appear and participate in this action on

 behalf of Plaintiff Sucesión Simon Diaz Marquez. The Clerk shall provide electronic notification

 of all electronic filings to Michael Barer, at mbarer@haugpartners.com.

          DONE AND ORDERED in Chambers at                                           , Florida, this
 day of                                     .
                                                              ______________________________
                                                              United States District Judge
 Copies furnished to: All Counsel of Record




                                                  4
Case 1:23-cv-23933-FAM Document 6 Entered on FLSD Docket 10/17/2023 Page 5 of 5


                                        Certificate of Service

        I hereby certify that on this 17th day of October, 2023, a copy of the foregoing Motion was

 electronically filed with the Clerk of the Court using the CM/ECF system, which will send

 notification of such filing to all counsel of record.

                                                /s/Matthew Ryan/
                                                Matthew Ryan




                                                    5
